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           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           19      CERCACOR LABORATORIES, INC.,                  APPLE’S OPPOSITION TO
                   a Delaware corporation,                       PLAINTIFFS’ MOTION TO
           20                                                    RECONSIDER AND VACATE
                                      Plaintiffs,                JUDGMENT AS A MATTER OF LAW
           21                                                    ON B2
                         v.
           22                                                    Date: June 12, 2023
                   APPLE INC.,
           23      a California corporation,                     Time: 1:30pm
           24                         Defendant.
           25
           26      REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL

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             1                                        INTRODUCTION
             2           Plaintiffs’ request for the “extraordinary remedy” of reconsideration should be
             3     rejected, both because this Court’s B2 ruling was right on the merits and because—at a
             4     minimum—Plaintiffs have not identified any of the “highly unusual circumstances” that
             5     justify granting a motion for reconsideration. See MGA Ent. Inc. v. Harris, 2022 WL
             6     4596585, at *1-2 (C.D. Cal. Sept. 7, 2022) (Selna, J.); see also L.R. 7-18.
             7           Plaintiffs’ specific challenges to this Court’s order are both procedurally improper
             8     and meritless. They are procedurally improper because Plaintiffs’ brief merely repeats
             9     “oral [and] written argument made in opposition” to the original motion, in violation of
           10      Local Rule 7-18. And they are meritless because Plaintiffs identify no case law
           11      supporting their assertion that a trade secret plaintiff can ask the jury to change the
           12      definition of a purported trade secret based on the evidence presented at trial. While
           13      Plaintiffs quibble with the amount of detail in the Court’s analysis of B2, their criticism
           14      is both wrong and unfair: the 21-page ruling is both comprehensive and well-supported
           15      by the record. At a minimum, Plaintiffs have not identified the kind of “manifest …
           16      failure to consider material facts” that even they acknowledge is necessary to justify
           17      reconsideration.
           18                                           STATEMENT
           19            A.     Plaintiffs Agree During Trial That Their November 2020 Description
           20                   Of B2 “Provide[s] The Controlling Definition[]”
           21            Plaintiffs first disclosed B2 two-and-a-half years ago, in November 2020, when
           22      they served Apple with their amended Section 2019.210 statement. See Ex. 1 at 9. In
           23      Plaintiffs’ words, B2 describes
           24
           25
           26                                   Id.; accord Dkt. 296-1 at 18 (operative complaint). In April
           27      2022, Plaintiffs requested leave to amend the language of certain purported trade secrets,
           28      including B1, but did not propose any changes to B2. See Dkt. 669 at 4-6. This Court

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             1     granted Plaintiffs’ request, and also ruled that “additional attempts to refine
             2     identification” of the purported secrets would not be permitted. Id. at 6.1
             3              During trial, Plaintiffs took the position that the descriptions of the purported trade
             4     secrets in the jurors’ notebooks were “controlling.” Specifically, the Court asked both
             5     sides whether they approved of the following special instruction:
             6           [O]nce [a trade secret plaintiff] brings a claim, that party is required to
                         provide a written description of its claimed trade secrets so the defendant
             7           understands the scope of the claim. That is what happened in this case, and
                         those written descriptions of the Asserted Trade Secrets appear in your
             8           juror notebooks. Those descriptions provide the controlling definitions of
                         the Asserted Trade Secrets in this case.
             9     Dkt. 1715 at 27; see 4/12 AM Tr. 16:14-22; 4/12 PM Tr. 116:9-117:18. Plaintiffs’ lead
           10      counsel enthusiastically endorsed the proposed instruction, stating “We would love it if
           11      this was read every day.” 4/12 PM Tr. 116:20-21; see also id. 117:13-14 (“I think the
           12      special instruction is correct.”).
           13               B.     Plaintiffs’ Witnesses Fail To Explain Why B2—As Drafted By
           14                      Plaintiffs—Is Not Generally Known, While Apple’s Witnesses
           15                      Explain Why It Is
           16               During trial, Plaintiffs put forward just two witnesses who testified regarding B2:
           17      their CEO (Mr. Kiani) and their business and marketing expert (Dr. Palmatier).
           18               1. Kiani. On direct examination, Mr. Kiani only briefly testified about the scope
           19      of B2. He asserted that the term
           20                                                                                         4/5 PM Tr.
           21      78:15-18.2 And he stated that the purported trade secret was meant to deal with the
           22      problem that, because
           23
           24      1
                    Plaintiffs have not sought reconsideration of this Court’s ruling that no reasonable jury
           25      could find that B1 was not generally known. See Dkt. 1724 at 6. Accordingly, this brief
                   discusses only the aspects of B2 that are distinct from B1.
           26      2
                     Apple has redacted Mr. Kiani’s testimony and other evidence Plaintiffs have requested
           27      be sealed solely as a courtesy to Plaintiffs; Apple does not agree that any of these high-
                   level statements about basic marketing concepts warrant sealing. See also Dkt. 1724 at
           28      21 (this Court noting that Plaintiffs’ proposed redactions to Rule 50(a) order “reference
                   general concepts and need not be sealed”).
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             1                                                                                     Id. 78:20,
             2     24-25. Mr. Kiani made similar statements on cross-examination, agreeing that B2 refers
             3     to
             4
             5               4/6 AM Tr. 32:20-33:1.
             6           Mr. Kiani did not testify that the basic concept described above was not generally
             7     known. When pressed by Apple’s counsel regarding why, for example, B2 did not
             8     describe the well-established practice of using
             9                                                                                            Mr.
           10      Kiani asserted that the healthcare system does not use
           11
           12
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           17                                    . Rather, he recognized that B2 does not use “my language
           18      exactly. This is what the lawyers gave you.” Id. 36:1-3; see also id. 36:6-7 (“I’m just
           19      telling you this is not the way I would describe it.”); id. 54:23-25 (“I didn’t write these
           20      words. I’m just explaining … what we were trying to do and have done.”); id. 55:4-5
           21      (“I don’t profess to understand trade secret law.        All I know is what we keep
           22      confidential.”); id. 55:25-56:1 (“What I explained to our lawyers [was] what I believe
           23      Dr. O’Reilly took.”).
           24            Mr. Kiani also conceded on cross-examination that two of Plaintiffs’ press
           25      releases announcing their pulse oximetry products had publicly touted many aspects of
           26      the purported business trade secrets. See 4/6 AM Tr. 40-57; see also JTX-4636 (Rad-
           27      97 press release); JTX-2761 (iSpO2 press release). Mr. Kiani agreed that the press
           28      release for the Rad-97, for example, “told the world” that the product could

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             2     4/6 AM Tr. 45:4-7. He also agreed that the Rad-97 was (1)
             3
             4                                  Id. 45:13-21.
             5              Although Plaintiffs recalled Mr. Kiani to provide additional testimony at the very
             6     end of the trial, he did not say anything further about whether B2 was generally known.
             7     See 4/25 Tr. 64-95.
             8              2. Palmatier. Dr. Palmatier similarly failed to testify that B2 was not generally
             9     known. On direct examination, he stated that B2 is directed to the general concept of
           10
           11
           12                      4/11 PM Tr. 42:9-15. While he stated at a high level of generality that all
           13      the purported business trade secrets derive independent economic value from not being
           14      generally known (because Plaintiffs had purportedly spent money in developing them
           15      and Dr. Michael O’Reilly had supposedly spoken to their value), Dr. Palmatier did not
           16      specifically address whether B2 itself was generally known. Id. 70-72.3
           17               On cross-examination, Dr. Palmatier agreed that his opinions regarding trade
           18      secret misappropriation “used the trade secret[s] as written, in [their] context” and
           19      confirmed that he did not base his “opinions on something that’s not written in the list”
           20      in the jurors’ notebooks. 4/11 PM Tr. 90:18-22. He also testified that a
           21      drawing that appeared in Dr. O’Reilly’s notebook (a version of which Dr. O’Reilly had
           22      drawn on a whiteboard during an interview with Apple) was not the purported B2 trade
           23      secret. 4/12 AM Tr. 36:9-14 (Q: “Sir, this                that we see right here … is not a
           24      Masimo or Cercacor trade secret, is it? A: The exact                  ? No[.]”); id. 61:23-
           25      62:10 (Q: None of those words [used in the notebook               ] is a Masimo or Cercacor
           26
           27      3
                    Dr. Palmatier later admitted that he did not know whether Dr. O’Reilly’s statements
           28      were directed to the purported trade secrets or to the Apple Watch project as a whole.
                   4/11 PM Tr. 75-76.
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             1      trade secret, correct? A: Those words themselves do not encapsulate any one of the full
             2      trade secrets.”).   And at the prompting of Plaintiffs’ own counsel, Dr. Palmatier
             3      conceded that while he did not specifically know one way or the other whether B2 was
             4      “generally known,” “the general idea of some of [B2] is out there.” Id. 50:22-51:7.
             5            3. Apple’s Witnesses. Even though Apple did not have the burden to present
             6      testimony on whether the purported trade secrets were generally known, it put forth two
             7      witnesses who testified that they were. Apple’s expert witness Dr. Kivetz testified at
             8      length that each of the purported business trade secrets merely described generally
             9      known marketing principles that were taught in business schools, used by numerous
           10       companies, and described in books and articles for many years before the date of the
           11       purported misappropriation. See 4/18 AM Tr. 138-141; 4/18 PM Tr. 11-34; infra pp.
           12       18-19. And Dr. O’Reilly—the former Masimo employee accused of misappropriating
           13       B2—testified that he had “presented publicly” a                         presentation that
           14       Plaintiffs claim discloses B2, 4/18 Tr. AM 71, 104, and that he had learned about the
           15       idea of                         when he was in graduate school at the University of
           16       Vermont in the 1980s, 4/14 Tr. PM 12:5-16, 16:4-17:23.
           17             C.     FRCP 50(a) Proceedings
           18             1.     On April 22, Apple filed its Rule 50(a) motion, which argued inter alia that
           19       no reasonable jury could find that the purported business trade secrets were not generally
           20       known at the time of the purported misappropriation in 2013. Dkt. 1705 at 8-9.
           21             On April 24, Plaintiffs filed their opposition, which (as relevant here) raised two
           22       arguments. First, Plaintiffs argued for the first time that this Court cannot resolve
           23       “disagreements about the scope or meaning of the trade secrets” “as a matter of law.”
           24       Dkt. 1703 at 9. Instead, Plaintiffs contended that the jurors should be instructed that
           25       they were ultimately responsible for “determin[ing] the scope and meaning of any trade
           26       secrets you find exist.” Id. at 8-9, 32 (citing InteliClear, LLC v. ETC Global Holdings,
           27       Inc., 978 F.3d 653 (9th Cir. 2020), and EnterTrode, Inc. v. Gen. Capacitor Co. Ltd.,
           28       2019 WL 1715170, at *2 (N.D. Cal. Apr. 17, 2019)). Second, Plaintiffs argued that

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             1      Apple had failed to establish that the purported trade secrets were generally known. Dkt.
             2      1703 at 10. Plaintiffs did not identify any record evidence showing that the purported
             3      trade secrets were not generally known. Id.
             4            2.     On the morning of April 25, this Court sent the parties a tentative, 26-page
             5      ruling that addressed the arguments raised by both sides. While this Court allowed many
             6      issues to go to the jury, it granted JMOL on the issue of whether the purported business
             7      trade secrets were not generally known. Although the purported secrets were “stated via
             8      lengthy description,” they boiled down to basic concepts, such as (for B1) “a strategy to
             9      create sought after, clinically accurate products that can be used in hospitals and at home
           10       synergistically” and (for B2) “collecting more patient data to better care for a patient.”
           11       See Dkt. 1724 at 5-6.
           12             3.     The Court held oral argument on the Rule 50(a) briefing several hours after
           13       issuing its tentative ruling. See generally 4/25 Tr. 104-115. As to B2, Plaintiffs’ counsel
           14       argued once again that Apple did not present affirmative “evidence that the strategy was
           15       generally known.” Id. 108-109.
           16             After Plaintiffs’ counsel had stated her position, this Court asked her
           17
           18                                                                            4/25 Tr. 113:15-18.
           19       Counsel’s response did not provide any specific answer, and merely repeated words of
           20       B2:
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                    Id. 113:19-114:2. This Court then asked counsel to clarify
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             1
             2                                                                                       Id. 114:23-
             3      115:5.
             4               Following a lunch-time recess, Plaintiffs’ counsel sought one more chance “to
             5      make our record with regard to the analysis in the tentative,” which the Court permitted.
             6      4/25 Tr. 117:21-23. Counsel contended that the Court had “reinterpreted” B2—and
             7      specifically, the terms                                                    and
             8                    —in reaching its ruling, which she argued was an “incorrect” attempt by the
             9      Court to “interpret[ the purported trade secrets] as a matter of law.” Id. 118:5-17.
           10                Following counsel’s argument, the Court explained that “I’ve had the chance to
           11       engage in further reflection over the lunch hour, and I still come to the conclusion that
           12       there’s not enough there to submit the business trade secrets to the jury.” 4/25 Tr.
           13       119:11-15. Accordingly, the Court stated that he was “going to grant the 50(a) motion
           14       as to those.” Id. Later the same day, the Court and the parties modified the jury
           15       instructions and verdict form to eliminate references to the purported business trade
           16       secrets in an off-the-record charge conference.4
           17                4.     Plaintiffs filed the instant motion on May 9—six days after the parties met
           18       and conferred on May 3 and in violation of Local Rule 7-3’s requirement that any
           19       conference of counsel “must take place at least 7 days prior to the filing of the motion.”
           20       The timing of the conference was the result of Plaintiffs’ own delay, as they first emailed
           21       Apple after the close of business on May 2. Ex. 2. Apple responded the following
           22       morning and the parties met and conferred a few hours later. Id.
           23
           24
           25
           26
           27       4
                      The Court subsequently added two footnotes to its Rule 50(a) decision to address
           28       several of the arguments made by Plaintiffs’ counsel during oral argument. Dkt. 1724
                    at 6 n.2, 7 n.3.
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             1                                              ARGUMENT
             2      I.       PLAINTIFFS’ MOTION DOES NOT SATISFY THE DEMANDING REQUIREMENTS
             3               FOR RECONSIDERATION
             4               Although Plaintiffs purport to seek reconsideration through four different
             5      procedural mechanisms—FRCP 59(e), FRCP 60(b), Local Rule 7-18, and the Court’s
             6      inherent authority to change its opinion, Mem. 2-3—they in fact rely on only two
             7      mechanisms. That is because “[c]ourts in this district have interpreted Local Rule 7-18
             8      to be coextensive with Rules 59(e) and 60(b),” meaning that this Court assesses motions
             9      for reconsideration under the legal standard set out in Local Rule 7-18. MGA Ent., 2022
           10       WL 4596585, at *1-2; Finnegan v. United States, 2021 WL 8820874, at *1 (C.D. Cal.
           11       Dec. 9, 2021) (emphasis added).5
           12                A.        Local Rule 7-18
           13                Plaintiffs’ motion fails to satisfy the demanding requirements of Local Rule 7-18
           14       for three reasons. First, the Rule provides that “[n]o motion for reconsideration may in
           15       any manner repeat any oral or written argument made in support of, or in opposition to,
           16       the original motion.” Here, each of the “four errors” that Plaintiffs press (Mem. 3) was
           17       previously aired orally and/or in writing:
           18                x Plaintiffs argue that this Court’s ruling “rewrote Trade Secret B2.” Mem. 3-5.
           19                     Plaintiffs made the same (flawed) point in both their Rule 50(a) briefing and
           20                     at oral argument. See Dkt. 1703 at 9; 4/25 Tr. 118:5-17.
           21                x Plaintiffs argue that “[t]rade secrets are interpreted by the jury, not the Court.”
           22                     Mem. 4-6 (citing Inteliclear and EnerTrode) (capitalization omitted). Again,
           23                     Plaintiffs made the same erroneous point and cited the same two cases both in
           24                     their prior briefing and at oral argument. See Dkt. 1703 at 9; 4/25 Tr. 119:2-
           25                     9.
           26
           27
                    5
                      In any event, FRCP 59 and 60(b) “only apply to final, appealable judgments and
                    orders”—not to “interlocutory” rulings. Lopez v. Liberty Mutual Ins. Co., 2020 WL
           28       13042575, at *3 (C.D. Cal. Oct. 20, 2020). Plaintiffs concede this Court’s Rule 50(a)
                    decision is an “interlocutory order[].” Mem. 2.
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             1               x Plaintiffs argue that “[n]o evidence supports the Order’s rewriting of Trade
             2                  Secret B2” and that B2 encompasses something different than this Court’s
             3                  description of “collecting more patient data to better care for a patient.” Mem.
             4                  at 6-10 (citing 4/6 AM Tr. 32:10-35:14 (Kiani) and 4/14 PM Tr. 11 (O’Reilly)).
             5                  Plaintiffs made the same point—and cited much of the same testimony—at
             6                  oral argument. 4/25 Tr. 108, 119 (citing inter alia 4/6 AM Tr. 34-35 (Kiani)).
             7               x Plaintiffs argue “[n]o evidence suggests that Trade Secret B2 was generally
             8                  known.” Mem. at 10-16. Yet again, Plaintiffs made the same meritless
             9                  argument in their Rule 50(a) briefing and at oral argument. Dkt. 1703 at 10;
           10                   4/25 Tr. 108-109; 112-113.
           11                Second, Local Rule 7-18 provides that a party that files its motion for
           12       reconsideration “later than 14 days after entry of the Order that is the subject of the
           13       motion” must make a showing of good cause for their untimeliness. Plaintiffs have not
           14       even attempted to make such a showing here.
           15                To be sure, Plaintiffs filed their motion exactly 14 days after this Court’s Rule
           16       50(a) decision on April 25, see supra p. 7, but they did so in violation of the local rules.
           17       Local Rule 7-3 requires parties to meet and confer seven days before any motion is filed;
           18       here, the parties met and conferred six days beforehand. Plaintiffs should not be
           19       permitted to circumvent one local rule to avoid the constraints of another.6
           20                Third, even if Plaintiffs had met the procedural requirements of Local Rule 7-18,
           21       they have failed to show that this case presents the “highly unusual circumstances”
           22       where a motion for reconsideration is proper. See Finnegan, 2021 WL 8820874, at *1;
           23       MGA Ent., 2022 WL 4596585, at *1-2. In particular, Plaintiffs’ first two arguments—
           24       i.e., that this Court “erred as a matter of law by rewriting” B2 and that only the jury can
           25       determine the scope of the purported secrets, Mem. at 3-6—are both legal challenges.
           26
           27
                    6
                      Plaintiffs’ brief does not acknowledge their violation of the local rules. Their motion
                    states that Plaintiffs “requested” the conference on May 2, seven days before they filed
           28       the motion. Dkt. 1733 at 1. But Local Rule 7-3’s seven-day clock starts when the
                    conference “take[s] place.”
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             1      Plaintiffs, however, have identified neither any “change of law occurring after the Order
             2      was entered” nor any “material difference in … law from that presented to the Court”
             3      that “could not have been known” to Plaintiffs during the Rule 50(a) briefing. See L.R.
             4      7-18(a)-(b). And it is well-established that “a motion for reconsideration may not be
             5      made on the grounds that a party disagrees with the Court’s application of legal
             6      precedent.” West Coast Stock Transfer, Inc. v. Terra Tech Corp., 2019 WL 1878348, at
             7      *2 (C.D. Cal. Feb. 14, 2019); accord MGA Ent., 2022 WL 4596585, at *2. Plaintiffs’
             8      remaining arguments are factual, but they rely entirely on testimony that this Court
             9      observed firsthand—much of which was expressly raised in the Rule 50(a) briefing and
           10       during oral argument. See supra pp. 2-5, 8-9; infra pp. 14-20. Plaintiffs accordingly
           11       cannot reasonably meet their burden to make a “manifest showing of a failure to consider
           12       material facts.” L.R. 7-18.
           13             B.      Inherent Authority
           14             This Court has explained that, even when exercising its “inherent authority to
           15       modify a non-final order,” “a court should generally leave a previous decision
           16       undisturbed absent a showing that it either presented clear error or would work a
           17       manifest injustice.” Allergan, Inc. v. Athena, 2012 WL 12898344, at *4 (C.D. Cal. May
           18       24, 2012). Put slightly differently, this authority is used to “‘correct mistakes’ or to grant
           19       relief from ‘manifest error.’” Id. at *3. Plaintiffs have not identified any specific
           20       “mistake” made by this Court (nor could they reasonably do so, given that their motion
           21       is simply a rehash of arguments they already presented) and again, Plaintiffs have not
           22       established “manifest error.” See infra pp. 10-20.
           23       II.   PLAINTIFFS HAVE NOT SHOWN THAT THIS COURT COMMITTED MANIFEST
           24             LEGAL ERROR BY SUMMARIZING B2 OR BY RESOLVING THE “NOT
           25             GENERALLY KNOWN” INQUIRY AT THE RULE 50(A) STAGE
           26             A.     This Court Did Not “Rewrite” B2
           27             Plaintiffs argue that this Court was barred as a matter of law from summarizing
           28       B2 as “collecting more patient data to better care for a particular patient.” Mem. 3-4.

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             1      Plaintiffs identify no case law that supports such a rule, nor is Apple aware of any. To
             2      the contrary, it is not uncommon for courts to summarize wordy purported trade secrets
             3      when issuing their decisions. See, e.g., Masimo Corp. v. True Wearables Inc., 2021 WL
             4      2548690, at *1 (C.D. Cal. Apr. 28, 2021) (“In essence, the [purported trade secret] uses
             5      a process somewhat [redacted] necessary to calculate SpHb given a predetermined
             6      measure of accuracy.”); Mattel, Inc. v. MGA Ent., Inc., 2011 WL 3420571, at *2 n.1
             7      (C.D. Cal. 2011) (summarizing 117 trade secrets as the “appearance, operation, intended
             8      play pattern, and plans to advertise on television” of a particular product). As this
             9      Court’s decision explained, “a general concept or strategy of gathering more patient data
           10       to better care for a patient can be generally known or disclosed even if it does not use
           11       Plaintiffs’ preferred buzz words conveying the same thing.” Dkt. 1724 at 7 n.3.
           12             Any other approach would mean that a wily plaintiff could avoid a finding that a
           13       purported secret is generally known by using verbose and/or impenetrable phrasing to
           14       disguise basic concepts. Even Dr. Palmatier did not dispute that rewording a “well-
           15       known” concept (e.g., “Soda having carbonation”) in a more convoluted way (e.g.,
           16       “Soda having carbonation, because the soda has been carbonated to create a soda that is
           17       having carbonation”) made no real difference to what was being claimed. 4/11 PM Tr.
           18       81-86. Indeed, if it is not possible to boil down Plaintiffs’ use of “broad technical
           19       concepts” that “creat[e] a circuitous path of unexplained jargon” into concrete ideas, B2
           20       could be rejected on the alternative ground that Plaintiffs have failed to identify the
           21       alleged trade secret with reasonable particularity. See Calendar Research LLC v.
           22       StubHub, Inc., 2020 WL 4390391, at *7-8 (C.D. Cal. May 13, 2020) (collecting cases).
           23             B.     The Jury Did Not Have Carte Blanche To Determine What The
           24                    Trade Secrets Claim
           25             Plaintiffs next argue that this Court erred by interpreting the scope of B2 rather
           26       than leaving that question to the jury. Mem. 4-6. To be clear, Apple does not dispute
           27       that a jury may interpret the words that a plaintiff used to describe its purported secrets.
           28       The parties agreed that this Court could so instruct the jury, see supra p. 2, and nothing

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             1      in this Court’s decision suggests that it deviated from this principle. Rather, Plaintiffs’
             2      real argument is that the jury should have been granted freedom to rewrite Plaintiffs’ list
             3      of alleged trade secrets to encompass concepts (e.g.,
             4                                            ) that Plaintiffs could have expressly referenced in
             5      their purported trade secrets. This argument fails for three independent reasons.
             6            First, nothing in this Court’s Rule 50(a) decision suggests that it “[u]surp[ed] the
             7      jury’s role” (Mem. 6) by interpreting B2 as a court might interpret a contract or statute—
             8      i.e., providing a definition as a matter of law without any regard to the parties’ factual
             9      disputes. Rather, this Court did exactly what a court is supposed to do when granting
           10       relief at the Rule 50 stage. It assessed the trial record and held that no reasonable jury
           11       could interpret B2 in any way other than the Court’s definition. See, e.g., Dkt. 1724 at
           12       7 (“[N]o reasonable juror could find for Plaintiffs regarding whether the alleged ‘B’
           13       category trade secrets were generally known.”). In other words, this Court did not
           14       provide an authoritative interpretation of B2 based on statutory—or patent claim—
           15       interpretation principles; it merely concluded that the jury did not have a “legally
           16       sufficient evidentiary basis” to find that B2 is not generally known. See Fed. R. Civ. P.
           17       50(a). Indeed, under Plaintiffs’ approach, a court could apparently never grant JMOL
           18       regarding whether the trade secret plaintiff’s information is protectable as a trade secret
           19       because that would invade the jury’s sphere. That cannot be right.
           20             Second, Plaintiffs waived the right to argue that the jury can deviate from the
           21       language of the purported trade secrets that appeared in the juror notebooks. Plaintiffs’
           22       lead counsel did not just fail to object to this Court’s proposed instruction that “th[e]
           23       written descriptions of the Asserted Trade Secrets [that] appear in your juror notebooks
           24       … provide the controlling definitions of the Asserted Trade Secrets in this case.” Dkt.
           25       1715 at 27; supra p. 2. Lead counsel affirmatively endorsed that instruction, stating “We
           26       would love it if this was read every day” and “I think the special instruction is correct.”
           27       See supra pp. 2-3. More broadly, Plaintiffs successfully opposed Apple’s request for a
           28       jury instruction that would have permitted the jurors to determine whether Plaintiffs’

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             1      purported trade secrets were drafted with sufficient particularity. See Dkt. 1633-1 at 5-
             2      8. Because Plaintiffs prevailed in convincing the Court that the jury is not entitled to
             3      determine the scope of the purported trade secrets when doing so was to Plaintiffs’
             4      benefit, they should not be permitted to argue the opposite now that their “interests have
             5      changed.” See New Hampshire v. Maine, 532 U.S. 742, 749 (2001).
             6            Third, Plaintiffs identified no case supporting their view that they are not bound
             7      by the definition of B2 that appeared in their 2019.210 disclosure statement. This is for
             8      good reason, as California authority holds that while “[t]he trade secret designation
             9      mandated by section 2019.210 is not itself a pleading,” it “functions like one in a trade
           10       secret case.” Advanced Modular Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th
           11       826, 835 (2005).
           12             Neither of the two cases Plaintiffs cite permitted a trade secret plaintiff to deviate
           13       from the language of its purported trade secrets at trial. In EnerTrode, for example, the
           14       defendants argued that the plaintiffs’ trade secret definition should be narrowed. 2019
           15       WL 1715170, at *2. Nothing in the opinion suggests that the plaintiffs attempted to
           16       change or expand the definition of their purported secret at trial. Rather, the EnerTrode
           17       plaintiffs asked the Court to instruct the jury on the definition of trade secrets identified
           18       “[i]n discovery responses.” See EnerTrode, No. 16-cv-02458, Dkt. 346 at 60-61.
           19              InteliClear is even further afield. It held only that the trade secret plaintiff had
           20       established that there was a triable issue of material fact as to whether the plaintiff had
           21       identified at least one trade secret with reasonable particularity. 978 F.3d at 659-660.
           22       In other words, Inteliclear did not allow the plaintiff to adjust the scope of its purported
           23       secrets during trial; it merely left to the jury to resolve the question of whether the
           24       plaintiff had any trade secrets that satisfied California’s particularity requirement. Id.
           25             In any event, Inteliclear dealt with a very different factual situation—it was
           26       decided at a time in the case when “no discovery whatsoever had occurred” and the panel
           27       went to great lengths to distinguish the facts from cases where a plaintiff’s trade secrets
           28       were dismissed for lack of particularity only after extended discovery had occurred. Id.

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             1      at 663. Here, in contrast, Plaintiffs not only had years to amend their purported trade
             2      secrets, but they did in fact amend some of the supposed secrets—just not B2. See supra
             3      pp. 1-2.
             4      III.   PLAINTIFFS HAVE NOT SHOWN THAT THIS COURT COMMITTED A MANIFEST
             5             FACTUAL ERROR BY SUMMARIZING B2 OR HOLDING NO REASONABLE JURY
             6             COULD FIND PLAINTIFFS HAD MET THEIR BURDEN TO SHOW B2 WAS NOT
             7             GENERALLY KNOWN
             8             This Court correctly summarized B2’s scope and held that no reasonable jury
             9      could find that Plaintiffs had shown that B2 was not generally known. At a minimum,
           10       Plaintiffs have not shown that either ruling was the result of manifest error—particularly
           11       because, no matter how B2 is defined, Plaintiffs failed to put forth any evidence that it
           12       is not generally known.
           13              A.    B2’s Scope
           14              Plaintiffs argue that this Court’s summary of the meaning of
           15                                                     (i.e., “collecting more patient data to better
           16       care for a patient”) ignores contrary record evidence. Mem. 6-10. But Plaintiffs do not
           17       identify any testimony or documentary evidence stating that B2 is limited to Plaintiffs’
           18       preferred definition—i.e., “unconventional approaches to medicine
           19
           20
           21                                                          See Mem. 6-7. Plaintiffs do not point
           22       to any record cite at all where the language just quoted appears. Instead, Plaintiffs point
           23       to—charitably described—a jumble of testimony and documents, none of which
           24       supports their position.
           25              First, Plaintiffs ostensibly rely on Mr. Kiani’s testimony. Mem. 6-8. However,
           26       they do not cite a single line from Mr. Kiani’s hours of direct and re-direct examination
           27       testimony. Instead, they primarily cite just a handful of pages from Mr. Kiani’s cross-
           28       examination that discuss the use of, inter alia,                           to treat patients.

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             1      See 4/6 AM Tr. 33-38. And Plaintiffs concede that Mr. Kiani agreed within that same
             2      page range that B2 does not expressly encompass terms like
             3      Mem. 8. Rather, he explained that his testimony was merely
             4      at Masimo. 4/6 AM Tr. 35:20-36:3. B2, he testified, is not written using “my language
             5      exactly,” and was not written in “the way I would describe it.” Id. 36:1-7; see supra p.
             6      3 (collecting similar statements by Mr. Kiani).7
             7               Most importantly, Plaintiffs do not point to any non-conclusory testimony where
             8      Mr. Kiani stated that B2’s broad language was limited to concepts like
             9                      To the contrary, Plaintiffs themselves appear to argue only that
           10
           11                        Mem. 8 (emphasis added); id.
           12                                                                      (emphasis added)).      That
           13       understanding of the terminology is fully consistent with this Court’s summary of B2;
           14       using
           15       is a way of collecting more patient information to better care for that patient. Notably,
           16       when this Court pressed Plaintiffs’ counsel on this precise point at the Rule 50(a) oral
           17       argument—i.e., why the language of B2 should not be read broadly to
           18
           19                           —counsel failed to draw a meaningful distinction. See supra p. 6-7.
           20                Second, Plaintiffs assert that Dr. O’Reilly testified that the term
           21                                                                   Mem. 8-9 (citing 4/14 PM Tr.
           22       11). But the cited transcript page makes no reference to                            or even
           23       B2—Dr. O’Reilly simply provided a definition for the terms
           24                                                                           See 4/14 PM Tr. 11:8-
           25
           26       7
                     Plaintiffs make much of the fact that Mr. Kiani referenced
           27                   in his deposition. Mem. 8 n.1. This is a red herring. The issue is not when
                    Mr. Kiani began taking such a narrow view of B2; it is the fact that (by Mr. Kiani’s own
           28       admission), Plaintiffs’ counsel purportedly did not write B2 in a way that is consistent
                    with Mr. Kiani’s views.
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             1      12:2. Plaintiffs also wrongly claim that Dr. O’Reilly testified that
             2
             3      Mem. 9; see 4/14 PM Tr. 33. But this ignores Dr. O’Reilly’s prior testimony that
             4                            is a general term that means
             5                                                   4/14 PM Tr. 17:12-20. While Dr. O’Reilly
             6      testified that
             7
             8                                                                                 id. 33:12-20.
             9               Finally, Plaintiffs claim that certain documents discussed during Dr. Palmatier’s
           10       testimony—pages from Dr. O’Reilly’s notebooks and a white board drawing Dr.
           11       O’Reilly made during his interview at Apple—show that the term
           12                                                                                      . Mem. 9.
           13       But Dr. Palmatier subsequently conceded that neither the notebooks nor the whiteboard
           14       drawing actually discloses B2 (or any other purported business trade secret). 4/12 AM
           15       Tr. 36:9-14; 61:23-62:10. Similarly, while Plaintiffs focus (Mem. 9) on a single email
           16       chain between Dr. O’Reilly and Apple witness Adrian Perica, nothing in the chain
           17       mentions B2,                                                               . JTX-502 at -
           18       643, -644 (discussing the broad concept of                                                 ).
           19       And again, even if B2 includes                                                         —
           20       Plaintiffs identify nothing in the notebooks, whiteboard drawing, or email that limit B2’s
           21       scope.
           22                B.      Not Generally Known
           23                Plaintiffs devote more than six pages to arguing that this Court did not cite
           24       sufficient evidence to support its conclusion that no reasonable jury could have found
           25       that B2 was generally known. Mem. 10-16. But Plaintiffs identify no case law that
           26       requires a court to identify every piece of evidence supporting its conclusions at Rule
           27       50(a), nor is Apple aware of any. Such a rule would be particularly inappropriate here,
           28       where Plaintiffs have the burden to establish that B2 is not generally known but their

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             1      Rule 50(a) opposition failed to provide any B2-specific evidence on that issue. See
             2      supra pp. 5-6.
             3               This Court’s conclusion that no reasonable jury could have found that B2 was not
             4      generally known was well supported by the record. Plaintiffs’ motion identifies no
             5      cognizable contrary evidence that contradicts this Court’s ruling and for good reason—
             6      it does not exist. See supra pp. 2-5 (summarizing testimony from Plaintiffs’ witnesses).
             7      To the contrary, Plaintiffs’ counsel felt comfortable discussing the language of B2 on
             8      the public record, even while acknowledging that she was “in open court.” See 4/25 Tr.
             9      118:6-11 (“[W]e have words in the trade secret, and I know we’re in open court, but the
           10       words ‘broader precision diagnosis data set’ is in the trade secret” and “[t]here’s another
           11       term, ‘precision medicine[.]”).8
           12                Because Plaintiffs failed to put on any of the required evidence, they now
           13       improperly attempt to flip the burden by suggesting that Apple had to prove that no
           14       reasonable jury could have found that the purported secret “was generally known.” That
           15       is not the law. See Dkt. 1715 at 28 (Jury Instruction No. 21); see also DVD Copy Control
           16       Assn. v. Bunner, 116 Cal. App. 4th 241, 251 (2004) (Plaintiff has burden to prove “the
           17       information it seeks to protect is indeed a trade secret,” which includes that the
           18       information is “not … generally known”). But even if it were, the only reasonable
           19       conclusion that could be drawn from the uncontradicted evidence at trial was that B2
           20       was generally known because it describes the rudimentary concept of “collecting more
           21       patient data to better care for a patient.” See Dkt. 1724 at 6.
           22                This is consistent with Dr. O’Reilly’s statements that                         is a
           23       broad term that encompasses the basic concept of providing                      and that he
           24
           25
           26       8
                      While Plaintiffs assert there was “evidence … establishing B2 was not generally
           27       known,” Mem. 1, this appears to refer to a Google search by Apple’s expert that did not
                    return any hits for the term “                                     id. 12-13. As this
           28       Court already noted, that B2 uses jargon to describe a basic concept does not
                    automatically make that concept a secret. See Dkt. 1724 at 7 n.3.
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             1      had presented the subject matter of B2 at a public conference long before the purported
             2      misappropriation. See supra p. 5.
             3            This Court’s ruling is also fully borne out by the statements of Apple’s expert, Dr.
             4      Kivetz, who testified that B2
             5
             6                       4/18 PM Tr. 31:8-19. In other words, B2 employs the
             7
             8                                          and this principle has been “generally known for
             9      decades.” Id. 33:14-17. This basic concept (as well as the other purported business
           10       secrets) “ha[s] been known for years before 2013”—it has “been taught in universities
           11       all over the world,” “written about in many articles and books,” and “used and publicized
           12       by companies.” 4/18 AM Tr. 141:9-12.
           13             Dr. Kivetz’s testimony identified several consumer devices that existed prior to
           14       2013 that collected parameter data—as required by inter alia B2—such as
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           26             Dr. Kivetz also testified that companies like                                   had
           27       disclosed B2 through press releases and other marketing materials released prior to 2013.
           28       4/18 PM Tr. 33:19-34:12. In those materials, the companies publicized their products’

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             1      ability to
             2                                                   Id.; accord id. 29:21-30:6 (similar).
             3               Finally, Dr. Kivetz testified that Masimo itself had publicized B2 in 2012 through
             4      its own marketing materials and third-party articles regarding the iSpO2. See 4/18 PM
             5      Tr. 34:14-23. As he explained: “This is what companies do, [they] tell the market, ‘Here
             6      is what the product is for. Here is what it does.’” See id. 33:3-5. He explained that the
             7      iSpO2 press release and other third-party articles disclosed B2 as they told consumers
             8      that the iSpO2 could be used with
             9                                                                                           4/18 PM
           10       Tr. 34:14-23.9
           11                Plaintiffs do not address the vast majority of Dr. Kivetz’s testimony regarding B2.
           12       Their chief argument is that the iSpO2 press release does not expressly “discuss the use
           13       of iSpO2 to build a                                         , nor does it discuss the use of
           14       iSpO2 for                         ” Mem. 14. This Court rightly rejected that argument,
           15       explaining that “the question is not whether the press release contains the literal words
           16       of the alleged trade secret … it is whether the overall scope of what is disclosed in the
           17       alleged trade secret may be understood from the information that was publicly disclosed
           18       and widely disseminated, and therefore is generally known.” Dkt. 1724 at 7 n.3.
           19       Plaintiffs have no response.10
           20                Plaintiffs also contend that this Court erred by crediting the press release even
           21       though Dr. Palmatier testified that he personally could not discern any of Plaintiffs’
           22       purported business trade secrets from that document. Mem. 14-15. But this Court
           23       answered this point in the context of B1, explaining that “to the extent Dr. Palmatier’s
           24
           25       9
                     Plaintiffs fault this Court for failing to specifically address how many people viewed
           26       Plaintiffs’ press release. Mem. 15-16. This Court has rejected the argument that an
                    expert must as a matter of law specifically address that issue. See Dkt. 1284 at 6-7.
           27       10
                       This also answers Plaintiffs’ attorney argument that Dr. Kivetz did not adequately
           28       identify specific passages in the iSpO2 press release that support his testimony that
                    readers of the press release would have been able to discern B2. See Mem. 15.
Wilmer Cutler
Pickering Hale          APPLE’S OPP. TO PLAINTIFS’ MOT. TO RECONSIDER JMOL RE: B2
and Dorr LLP
                                                                   19          CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1      testimony intended to imply that some hidden strategy may be read between the lines of
             2      B1 as it was disclosed in this case, … that misstates the law because an alleged trade
             3      secret cannot evolve during trial.” Dkt. 1724 at 6 n.2. The same logic applies here—
             4      Plaintiffs point to nowhere in the record where Dr. Palmatier (or any other witness)
             5      identified a specific component of B2 that is absent from the iSpO2 press release.
             6      Instead, Plaintiffs once again ignore this Court’s reasoning.
             7                                          CONCLUSION
             8            Plaintiffs’ motion for reconsideration should be denied.
             9
           10       Dated: May 22, 2023                    Respectfully submitted,
           11
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           12                                              MARK D. SELWYN
           13                                              AMY K. WIGMORE
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             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 6,920 words, which:
             4             X complies with the word limit of L.R. 11-6.1
             5               complies with the page limit set by court order.
             6
             7      Dated: May 22, 2023                    Respectfully submitted,

             8
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